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                   EXHIBIT M
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



        DECLARATION OF SETH WISPELWEY IN SUPPORT OF PLAINTIFFS’
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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 I, Seth Wispelwey, declare as follows:

          1.      I am a Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-cv-00072-

  NKM.

          2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

  Trial and Trial Logistics.

          3.      The statements made in this declaration are based on my personal knowledge. If

  called to testify, I could and would testify under oath competently and truthfully to each of the

  statements in this declaration.

          4.      I am currently a resident of Tucson, Arizona, where I am a pastor with the United

  Church of Christ. I have arranged with my employer to take time off work in order to be present

  in Charlottesville, Virginia for the trial beginning in October 2021.

          5.      I plan to stay with family and friends who live in Charlottesville for the duration

  of the trial.

          6.      I lived in Charlottesville, Virginia for 24 years where I served as a grassroots

  community organizer and a pastor prior to moving to Tucson in 2019. In a very meaningful

  sense, I still consider Charlottesville to be my home. Charlottesville is not only where my family

  and friends still live, but it is where my community and emotional support system remains.

          7.      If the trial were moved to Lynchburg, Virginia, or Roanoke, Virginia, I would

  not have the benefit of the support from my loved ones as I relive the traumatic events at issue

  in the case. Instead, the stress and re-traumatization brought on by the trial would only be

  compounded by a two to four-hour commute by car each day.

          8.      More importantly, the community of Charlottesville was forever changed by the

  events of August 2017; holding the Sines v. Kessler trial in the community that still reels from
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  those traumatic events is critically necessary for healing and recovery. Regardless of the

  outcome of the trial itself, true justice cannot occur for the Charlottesville community if it does

  not have the opportunity to witness and participate in the process.

         9.      I declare under penalty of perjury that the foregoing is true and correct. Executed

  on June 10, 2021 in Tucson, Arizona.



                                       ____________________________
                                       Seth Wispelwey




                                                  3
